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AQ BSA (Rev. 12/13) Subpoena to Testify at a Deposition ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Nillicers Crowkord

2 Civil Action No. \\- 3849
yet v Cot poe ation it al. N3B-DMD

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

= Airiton Buch a

(Namie of

person to whom this subpoena is directed) —

Testimony: YOU ARE COMMANDED io appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directogs,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

Place: Low OPO ce ef Granade, Vv, tlavesa 7 | Date and Time: a
1631 Sant Cherles Aye. Neo Orbirs LA P0050 6/1a] 2014 (0:00am, |

I
The deposition will be recorded by this method: cs od, ¢ () se tc )
i

C1 Production: You, or your representatives, must also bring with you to the deposition the following documenty,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty fo
respond to this subpoena and the potential consequences of not doing so.

Date: F 0, /4
ey CLERK OF COURT
* (\Ot

Signature of Clerk or Deputy Clerk Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Milli al Crd Si’
, who issues or requests this subpoena, are:

Nidol,s Lindel hdl st Cherles Aue Neus ()r\ee..8 LA 74 30 Nicke® low role Com

Notice to the person who issues or requests this subpoena So a 5#F ° o& O
If this subpoena commands the production of documents, electronically stored information, or tangible things, a noticq
and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
directed. Fed. R. Civ. P. 45(a)(4).

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R, Civ, P. 45.)

4 i. _|
| received Ahis subpoena for (name of individual and title, if any) Y-) tO ze Uilrveqs

on (date) @ Sy ( 9

Served the subpoena by delivering a copy to the named individual as follows: Art €or

(ovewiay, (95%! Cuetan favs Or BOL, slew

QA Z4) “VO ?~7 on (date) Ly hy NG 5 or

(9 I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

§ 93.92

My fees are $ for travel and $

for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Bie off! 4 AOL 1

Server's signature

(oa (Anehe- {dace S Stee fee

BOMBET CAS elaled name and title 0,

“Server's address

Additional information regarding attempted service, etc.:

